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 8
                               IN THE UNITED STATES DISTRICT COURT
 9
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
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13   JAMES EDWARD CUPP, et al.,                               2:16-cv-00523-TLN-KJN

14                                        Plaintiff, DEFENDANT ROB BONTA’S
                                                     RESPONSE TO PLAINTIFFS’
15               v.                                  APPLICATION FOR
                                                     RECONSIDERATION OF THE
16                                                   COURT’S AUGUST 24, 2023 ORDER
     ROB BONTA, in his official capacity as
17   Attorney General of California, et al.,         Courtroom: Courtroom 2, 15th Floor
                                                     Judge:     The Honorable Troy L. Nunley
18                                    Defendants. Action Filed: March 11, 2016

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20         On remand from the Ninth Circuit for “further proceedings consistent with the United

21   States Supreme Court’s decision in New York State Rifle & Pistol Ass’n., Inc. v. Bruen,” and

22   following supplemental briefing, this Court entered an order applying the Bruen framework and

23   dismissing Plaintiffs’ two remaining claims. Plaintiffs now seek reconsideration of that order,

24   urging the Court to review several other previously dismissed claims. As explained below,

25   reconsideration of these additional claims is not necessary because they were not analyzed or

26   dismissed on Second Amendment grounds, and therefore were unaffected by the Bruen decision.

27   Accordingly, Plaintiffs’ application for reconsideration should be denied.

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                                                          1
             Defendant Rob Bonta’s Response to Plaintiffs’ Application for Reconsideration (2:16-cv-00523-TLN-KJN)
     Case 2:16-cv-00523-TLN-KJN Document 114 Filed 10/02/23 Page 2 of 5


 1                                              BACKGROUND

 2         This case has been pending for more than seven years. On September 28, 2021, this Court

 3   dismissed Plaintiffs’ two remaining claims against the Attorney General—challenges to

 4   California’s Law Enforcement Gun Release (“LEGR”) regime and prohibition against possession

 5   of slungshots—without leave to amend. ECF No. 91 at 5-8. Judgment was entered on October 1,

 6   2021 “in accordance with the Court’s [September 28, 2021] order.” ECF No. 95. Plaintiffs

 7   appealed, but the appeal was stayed pending the outcome of related litigation. ECF No. 17, Cupp,

 8   et al. v. Rob Bonta, et al., No. 21-16809 (9th Cir. Mar. 24, 2022). On August 19, 2022, pursuant

 9   to the parties’ joint motion, the Ninth Circuit “remanded to the district court for further

10   proceedings consistent with the United States Supreme Court’s decision in New York State Rifle

11   & Pistol Ass’n., Inc. v. Bruen.” ECF No. 23, Cupp, No. 21-16809 (9th Cir. Aug. 19, 2022).

12         On remand, following supplemental briefing by the parties, the Court analyzed Plaintiffs’

13   LEGR and slungshot claims under the Bruen framework and dismissed them again. ECF No. 109.

14   Plaintiffs now seek reconsideration of the Court’s order, contending that the Court must also

15   reconsider its prior dismissals of Plaintiffs’ myriad other claims.

16                                                ARGUMENT

17         Plaintiffs’ application for reconsideration urging the Court to revive various claims

18   dismissed years ago should be denied. Plaintiffs seek reconsideration of the following dismissed

19   claims: “large-capacity magazine ban, handgun ban (microstamping and safe handgun roster),

20   LEGR regime and fees, and open and conceal carry of a loaded firearm.” ECF No. 112 at 3.

21   However, of these claims, only the LEGR claim was dismissed on Second Amendment grounds

22   and potentially impacted by Bruen. 1 ECF No. 109 at 6-9. By contrast, as explained below,

23   Plaintiffs’ large-capacity magazine, handgun roster, and open and concealed carry of a loaded

24   firearm claims were all dismissed on non-Second Amendment grounds. Accordingly, there is no

25   practical reason to address Plaintiffs’ additional claims on remand because Bruen did not affect

26   this Court’s prior analysis of those claims.

27          1
              The Court also dismissed Plaintiffs’ slungshot claim on Second Amendment grounds,
     but Plaintiffs do not seek reconsideration of that claim, which Plaintiffs appear to have
28   abandoned.
                                                       2
             Defendant Rob Bonta’s Response to Plaintiffs’ Application for Reconsideration (2:16-cv-00523-TLN-KJN)
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 1         Plaintiffs’ First Claim, challenging California’s large-capacity magazine law and handgun

 2   roster, was dismissed on September 21, 2018 for lack of standing and for failing to satisfy the

 3   pleading standards under Federal Rule of Civil Procedure Rule 8. ECF No. 61 at 6-9. After

 4   Plaintiffs failed to address the Court’s concerns in their Third Amended Complaint, this claim

 5   was dismissed again in the Court’s September 24, 2020 Order, for the same reasons and without

 6   leave to amend. ECF No. 79 at 6-11.

 7         Similarly, Plaintiffs’ Twelfth Claim, a kitchen-sink claim challenging the State’s large-

 8   capacity magazine law, handgun roster, and open and concealed carry of a loaded firearm, was

 9   dismissed on September 21, 2018 for lack of standing and under Federal Rule of Civil Procedure

10   Rule 8. ECF No. 61 at 6-9. This claim was also dismissed again for the same reasons without

11   leave to amend. ECF No. 79 at 6-11.

12         Because each of these claims—Plaintiffs’ challenges to the State’s large-capacity magazine

13   law, handgun roster, and open and concealed carry of a loaded firearm—were dismissed on

14   grounds unrelated to the Second Amendment, they need not be reconsidered “consistent with”

15   Bruen.

16         Nor is reconsideration of the Court’s dismissal of Plaintiffs’ LEGR claim required or

17   appropriate. Although this claim was dismissed in 2021 on Second Amendment grounds, the

18   Court reexamined it on remand and issued a new order consistent with Bruen. ECF No. 109 at 6-

19   9. There is no basis for reconsidering it again. 2

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              Specifically, Plaintiffs have identified no “new or different facts or circumstances . . .
     which did not exist” at the time of the Court’s August 23, 2023 Order. E.D. Cal. R. 230(j). The
27   same is true for Plaintiffs’ slungshot claim. Although Plaintiffs’ application does not seek
     reconsideration of that claim, even if they had, there would be no basis for reconsideration—the
28   Court has already analyzed that claim under Bruen.
                                                        3
              Defendant Rob Bonta’s Response to Plaintiffs’ Application for Reconsideration (2:16-cv-00523-TLN-KJN)
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 1                                              CONCLUSION

 2        Defendant Rob Bonta respectfully requests that this Court deny Plaintiffs’ application for

 3   reconsideration.

 4   Dated: October 2, 2023                                  Respectfully submitted,
 5                                                           ROB BONTA
                                                             Attorney General of California
 6                                                           BENJAMIN M. GLICKMAN
                                                             Supervising Deputy Attorney General
 7

 8
                                                             /s/ Katrina Uyehara
 9                                                           KATRINA UYEHARA
                                                             Deputy Attorney General
10                                                           Attorneys for Defendant Rob Bonta, in his
                                                             official capacity as Attorney General of
11                                                           California
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            Defendant Rob Bonta’s Response to Plaintiffs’ Application for Reconsideration (2:16-cv-00523-TLN-KJN)
       Case 2:16-cv-00523-TLN-KJN Document 114 Filed 10/02/23 Page 5 of 5



                                  CERTIFICATE OF SERVICE
Case Name:        Cupp, James Edward v.                   No.    2:16-cv-00523-TLN-KJN
                  Kamala D. Harris, et al.

I hereby certify that on October 2, 2023, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
 DEFENDANT ROB BONTA’S RESPONSE TO PLAINTIFFS’ APPLICATION FOR
 RECONSIDERATION OF THE COURT’S AUGUST 24, 2023 ORDER

I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on October 2,
2023, at Sacramento, California.


                Eileen A. Ennis                                 /s/ Eileen A. Ennis
                   Declarant                                         Signature

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